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  Tristan Chandler Stevens



          Defendant(s)




                                  , 2021


Code Section                                         Offense Description

118 U.S.C. § 111(b) - Assaulting, resisting, or impeding certain officers or employees;
18 U.S.C. § 231(a)(3) - Civil Disorder;
18 U.S.C. § 1752(a) & (b) - Restricted Building or Grounds;
40 U.S.C. § 5104(e)(2) - Violent Entry or Disorderly Conduct




                                                                    Complainant’s signature

                                                        Steven A. Weatherhead, Special Agent
                                                                    Printed name and title


                                                                               Digitally signed by G.
                                                                               Michael Harvey
                                                                               Date: 2021.02.03 12:55:32
   02/0 /2021                                                                  -05'00'
                                                                       Judge’s signature

                                                       G. Michael Harvey, U.S. Magistrate Judge
                                                                    Printed name and title
